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                                                              February 16, 2021

Honorable George B. Daniels
U.S. District Court for the S.D.N.Y.
500 Pearl Street
New York, NY 10007

       Re: United States v. Zilberberg, 19 Cr. 802 (GBD)

Dear Judge Daniels:

        For the past few months, counsel have engaged in extensive conversations with the
government and counsel for co-defendant Aron Fried regarding potential Bruton issues at trial.
The government has recently informed counsel that, should it seek to admit at trial portions of
co-defendant Fried’s sworn interview with the Federal Deposit Insurance Corporation, the
government will remove specific references to Mr. Zilberberg to avoid a Bruton issue. The
government reserved the right, however, to seek to introduce (or not to introduce) any other
portions of the interview before or during trial as trial issues emerge. In light of the government’s
current position, counsel will not file a severance motion at this time. Should the government or
Mr. Fried later seek to admit other portions of Mr. Fried’s interview that refer to Mr. Zilberberg,
counsel reserves the right to file a severance motion at that time.

       Thank you for your consideration.

                                                              Respectfully,



                                                              Benjamin Brafman, Esq.
cc: All Counsel (via ECF)
